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                   IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
ADAM GRAY                                     )
                                              )
        Plaintiff,                            ) Case No. 18 CV 2624
v.                                            )
                                              )
CITY OF CHICAGO, Special Representative )
of the Estate of NICHOLAS C. CRESCENZO, )
JR., Special Representative of the Estate of  )
GEORGE JENKINS, Special Representative ) Judge John Z. Lee
of the Estate of MICHAEL A. POCHORDO, )
Special Representative of the Estate of CRAIG ) Magistrate Judge Beth W. Jantz
CEGIELSKI, ERNEST R. ROKOSIK,                 )
Executor of the Estate of ERNEST W.           )
ROKOSIK, DANIEL MCINERNEY, PERCY )
DAVIS, ROBERT FITZPATRICK, L.                 )
MARTINEZ, JOSEPH GRUSZKA, JAMES )
R. BROWN, COOK COUNTY, and AS-YET )
UNKNOWN CHICAGO POLICE                        )
DETECTIVES,                                   )
                                              )
        Defendants.                           )
                                              )

                 JOINT STATUS REPORT SUBMITTED PURSUANT TO
                        THIS COURT’S JUNE 2, 2020 ORDER

   1. Progress of Discovery

        Fact discovery closed on January 31, 2020 but the court granted the parties leave to take
the following witnesses’ deposition outside the close of fact discovery: Marty Beyer, Roger Shuy,
Fabio Valentini, and Brenda Thomas. (See 3/4/20, Doc. # 202, #214).

      As reported in the May 13, 2020 status report, the deposition of Marty Beyer was
completed and the parties reached an agreement that obviates the need to take the deposition of
Roger Shuy. The parties are still seeking to take the depositions of Fabio Valentini and Brenda
Thomas.

        Attorneys for the Individual City Defendants are working with Mr. Valentini’s counsel to
coordinate a deposition date for Mr. Valentini in September or October; this deposition has been
delayed due to the public health emergency. Brenda Thomas is believed to live in Minnesota. The
parties will continue efforts to serve and depose Ms. Thomas when it is safe for the parties to
travel.
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   2. Status of Briefing on Unresolved Motions

       Not applicable.

   3. Proposed Schedule for Cases Without Any Future Court Dates

       Not applicable.

   4. The Current Court Dates Do Not Require Revision

       On May 19, 2020, the court entered the following expert discovery schedule: “The Court
has reviewed the parties' status report. Parties shall simultaneously disclose expert reports by
9/4/20 and disclose rebuttal reports by 11/19/20. All expert discovery must be completed by
1/5/21.” (Doc. #215). The parties agree that these dates do not require revision at this time.

   5. Any Agreed Action that the Court Can Take Without a Hearing

       Not applicable.

   6. Need for a Telephonic Hearing or In-Person Hearing

       Not applicable.


DATED: July 29, 2020

Respectfully submitted,

 Attorneys for the Plaintiff                       Attorneys for Defendant City of Chicago
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                                CERTIFICATE OF SERVICE

        I, Helen O’Shaughnessy, an attorney, certify that I served the foregoing Status Report on
all counsel of record via CM/ECF on July 29, 2020.

                                                      /s/ Helen O’Shaughnessy




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